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                                   5                                    UNITED STATES DISTRICT COURT

                                   6                                NORTHERN DISTRICT OF CALIFORNIA

                                   7                                          SAN JOSE DIVISION

                                   8
                                         STEPHEN EDWARD HAJEK,
                                   9                                                          Case No. 20-2568 BLF
                                                          Petitioner,
                                  10                                                          SCHEDULING ORDER
                                                 v.
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                                         RON BROOMFIELD, Acting Warden,
                                  12     California State Prison at San Quentin,
Northern District of California
 United States District Court




                                  13                      Respondent.

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                                              On November 15, 2021, the parties filed a Joint Statement proposing a litigation schedule
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                                       for petitioner’s habeas petition. The parties agree that the petition contains unexhausted claims.
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                                       Having reviewed the Joint Statement, the Court adopts the parties’ proposed schedule as follows:
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                                              1) Respondent shall file a motion to dismiss the mixed petition not later than January 3,
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                                  19              2022.

                                  20          2) Petitioner shall file a joint pleading containing his response to the motion to dismiss,
                                  21              and his motion for a stay not later than January 17, 2022.
                                  22
                                              3) Respondent shall file a joint pleading containing his reply, if any, to the response to the
                                  23
                                                  motion to dismiss, and his response to the motion for a stay, not later than January 31,
                                  24
                                                  2022.
                                  25

                                  26          4) Petitioner shall file a reply, if any, to the response to the motion for a stay, not later

                                  27              than February 14, 2022.

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                                             5) Upon review of the parties’ submissions, the Court will schedule a hearing if deemed
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                                   2             necessary.

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                                             IT IS SO ORDERED.
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                                       Dated: December 6, 2021
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                                                                                    ______________________________________
                                   6                                                BETH L. FREEMAN
                                                                                    United States District Judge
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Northern District of California
 United States District Court




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